Case 2:19-cv-10071-VAP-RAO Document 1 Filed 11/25/19 Page 1 of 11 Page ID #:1



 1   THE AFTERGOOD LAW FIRM
     Aaron D. Aftergood (239853)
 2   aaron@aftergoodesq.com
     1880 Century Park East, Suite 200
 3   Los Angeles, CA 90067
     Telephone: (310) 551-5221
 4   Facsimile: (310) 496-2840
 5   WOODROW & PELUSO, LLC
     Patrick H. Peluso*
 6   ppeluso@woodrowpeluso.com
     Taylor T. Smith*
 7   tsmith@woodrowpeluso.com
     3900 East Mexico Avenue, Suite 300
 8   Denver, Colorado 80210
     Telephone: (720) 213-0675
 9   Facsimile: (303) 927-0809
10   *Pro Hac Vice admission to be filed
11   Attorneys for Plaintiff Tracy Eggleston
     and the Class
12
                          UNITED STATES DISTRICT COURT
13
           CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
14
15
16   TRACY EGGLESTON, individually                Case No.
     and on behalf of all others similarly
17   situated,
18                             Plaintiff,         CLASS ACTION COMPLAINT
19   v.
20   DIRECT PROTECT SECURITY &                    JURY TRIAL DEMANDED
     SURVEILLANCE, INC. a California
21   corporation,
22                             Defendants.
23
           1.     Plaintiff Tracy Eggleston (“Plaintiff” or “Eggleston”) brings this Class
24
     Action Complaint against Defendant Direct Protect Security & Surveillance, Inc.,
25
     (“DPSSI” or “Defendant”) to stop its practice of making unsolicited autodialed calls
26
     to cellular telephones without procuring prior express written consent from
27
     consumers, and to obtain redress for all persons similarly injured by their conduct.
28

     CLASS ACTION COMPLAINT                 -1-
Case 2:19-cv-10071-VAP-RAO Document 1 Filed 11/25/19 Page 2 of 11 Page ID #:2




 1         Plaintiff, for her Complaint, alleges as follows upon personal knowledge as to
 2   herself and her own acts and experiences, and, as to all other matters, upon
 3   information and belief, including investigation conducted by her attorneys.
 4         2.     The Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq.
 5   (“TCPA”), and its implementing regulations, 47 C.F.R. § 64.1200, et seq., prohibit
 6   companies, such as Defendant, from using an automatic telephone dialing system
 7   (“ATDS”) to make calls to cellular telephones without first obtaining prior express
 8   consent. Consent must be written where, like here, the calls are for telemarketing
 9   purposes.
10         3.     In this case, DPSSI has violated, and continues to violate, the TCPA
11   and its regulations by making autodialed calls to cellular phone subscribers who
12   have not provided prior express written consent to receive such calls.
13                                          PARTIES
14         4.     Plaintiff Tracy Eggleston is a natural person over the age of eighteen
15   who resides in Simi Valley, California, which is located in Ventura County.
16         5.     Defendant DPSSI is a corporation incorporated and existing under the
17   laws of the State of California whose primary place of business and corporate
18   headquarters is located at 3151 Airway Ave., Ste. F-205, Costa Mesa, CA 92626
19                                      JURISDICTION
20         6.     This Court has subject matter jurisdiction over this action pursuant to 28
21   U.S.C. § 1331, as the action arises under the Telephone Consumer Protection Act, 47
22   U.S.C. § 227, et seq., a federal statute. This Court also has jurisdiction under the
23   Class Action Fairness Act (“CAFA”), 28 U.S.C. § 1332, because the alleged Class
24   consists of over 100 persons, there is minimal diversity, and the claims of the class
25   members when aggregated together exceeds $5 million. Further, none of the
26   exceptions to CAFA apply.
27         7.     This Court has personal jurisdiction over DPSSI and venue is proper in
28   this District because Defendant solicits significant business in this District, is
     CLASS ACTION COMPLAINT                 -2-
Case 2:19-cv-10071-VAP-RAO Document 1 Filed 11/25/19 Page 3 of 11 Page ID #:3




 1   registered to do business in this District, DPSSI is headquartered in this District,
 2   Plaintiff received the offensive calls at issue in this District, and a substantial part of
 3   the events or omissions giving rise to the claim occurred in this District.
 4                          COMMON ALLEGATIONS OF FACT
 5          8.    Defendant DPSSI is an alarm and security company located in Ventura
 6   County California serving locations all across Southern California.
 7          9.    DPSSI is an authorized dealer of Brinks Home Security systems.
 8          10.   To increase its sales and reach, DPSSI engaged in a widespread
 9   telemarketing campaign.
10          11.   Telemarketing is a tried and true method of communicating with
11   consumers. With respect to cellphones, telemarketers have the ability to make a
12   device carried on the consumer’s person to vibrate or ring, alerting the consumer to
13   the call.
14          12.   In making the autodialed calls at issue in this Complaint, Defendant
15   utilized an automatic telephone dialing system. Specifically, the hardware and
16   software used by Defendant (or its agent(s)) has the capacity to store, produce, and
17   dial random or sequential numbers, and/or receive and store lists of telephone
18   numbers, and to dial such numbers, en masse, in an automated fashion without
19   material human intervention. Defendant’s automated dialing equipment includes
20   features substantially similar to a predictive dialer inasmuch as it is capable of
21   making numerous text message calls simultaneously (all without human
22   intervention).
23          13.   The problem for DPSSI is that it fails to obtain consumers’ prior
24   express written consent to place the autodialed calls as required by the TCPA.
25          14.   That is, DPSSI makes unauthorized SMS messages to cellular
26   subscribers who have not provided proper consent to Defendant to receive autodialed
27   calls. In doing so, DPSSI makes autodialed calls to solicit consumers to purchase its
28   home security alarm products and services—all in violation of the TCPA.
     CLASS ACTION COMPLAINT                  -3-
Case 2:19-cv-10071-VAP-RAO Document 1 Filed 11/25/19 Page 4 of 11 Page ID #:4




 1         15.      By making the autodialed calls at issue in this Complaint, Defendant
 2   caused Plaintiff and the members of the Class actual harm and cognizable legal
 3   injury. This includes the aggravation and nuisance and invasions of privacy that
 4   result from the receipt of such calls, in addition to a loss of value realized for the
 5   monies consumers paid to their wireless carriers for the receipt of such calls.
 6   Furthermore, the calls interfered with and interrupted Plaintiff’s and the other Class
 7   members’ use and enjoyment of their cellphones, including the related data,
 8   software, and hardware components. Defendant also caused substantial injury to
 9   their phones by causing wear and tear on their property, consuming battery life, and
10   appropriating cellular minutes and data.
11         16.      Defendant knows or acts in conscious disregard of the fact that its
12   autodialed calls to these cellular subscribers are unauthorized. As such, Defendant
13   not only invaded the personal privacy of Plaintiffs and other members of the Class
14   but also intentionally and repeatedly violated the TCPA.
15         17.      To the extent a third party made calls on behalf of DPSSI, DPSSI knew
16   about the autodialed calls, received the benefits of the autodialed calls, directed the
17   autodialed calls to be placed, and ratified the content and making of the calls.
18                            FACTS SPECIFIC TO PLAINTIFF
19         18.      Plaintiff Eggleston is the owner and customary user of a personal
20   cellular telephone number ending in 0318.
21         19.      In or around June 18, 2019, Plaintiff received an autodialed call on her
22   cellphone from Guy Ford III, at DPSSI. The call was to pitch Plaintiff on a home
23   security system.
24         20.      Plaintiff had never provided DPSSI prior express written consent to
25   contact her.
26         21.      Plaintiff notified her attorneys who reached out to DPSSI’s lawyers.
27   DPSSI’s lawyers responded on or about June 25, 2019 that DPSSI’s position was
28
     CLASS ACTION COMPLAINT                 -4-
Case 2:19-cv-10071-VAP-RAO Document 1 Filed 11/25/19 Page 5 of 11 Page ID #:5




 1   that Plaintiff had provided prior express consent via a website (URL
 2   http://myhomeimprovementcenter.com) back on June 7, 2019.
 3         22.    The letter from DPSSI’s lawyers purported to contain Plaintiff’s IP
 4   address, 107.184.104.27, but that is not Plaintiff’s IP address.
 5         23.    When Plaintiff’s counsel followed up regarding the website, DPSSI’s
 6   lawyers responded by providing a screenshot of 247homeimprovementnow.com, not
 7   myhomeimprovementcenter.com, as previously stated in counsel’s prior letter. While
 8   similar, they are two distinct websites, further calling into question the veracity of
 9   the representations by DPSSI and its lawyers regarding Plaintiff’s supposed consent.
10         24.    Plaintiff denies ever visiting 247homeimprovementnow.com or
11   myhomeimprovementcenter.com. Likewise, Plaintiff denies ever entering her
12   personal information into either website’s form fields for any reason.
13         25.    Defendant was, or is, aware that the above-described autodialed calls
14   were placed to consumers like Plaintiff who have not consented to receive them.
15         26.    By continuing to make unauthorized calls as alleged herein, DPSSI has
16   caused Plaintiff and other consumers actual harm and cognizable legal injury. This
17   includes the aggravation, nuisance, and invasion of privacy that results from the
18   receipt of such unwanted autodialed calls in addition to a loss of value realized for
19   the monies consumers paid to their wireless carriers for the receipt of such calls.
20   Furthermore, the calls interfered with Plaintiff’s and the other Class members’ use
21   and enjoyment of their cellphones, including all related data, software, and hardware
22   components. Defendant also caused substantial injury to their phones by causing
23   wear and tear on their property, consuming battery life, interfering with their use and
24   enjoyment, and in some instances appropriating cellular minutes and data.
25         27.    To redress these injuries, Plaintiff, on behalf of herself and a Class of
26   similarly situated individuals, brings this suit under the TCPA, which prohibits
27   unsolicited text calls to cellular telephones. On behalf of the Class, Plaintiff seeks an
28   injunction requiring Defendant to cease all unauthorized autodialed calling activities
     CLASS ACTION COMPLAINT                 -5-
Case 2:19-cv-10071-VAP-RAO Document 1 Filed 11/25/19 Page 6 of 11 Page ID #:6




 1   (plus corresponding declaratory relief) and an award of statutory damages to the
 2   class members, together with pre and post-judgment interest, costs and reasonable
 3   attorneys’ fees.
 4                                 CLASS ALLEGATIONS
 5         28.    Plaintiff brings this action pursuant to Federal Rule of Civil Procedure
 6   23(b)(2) and Rule 23(b)(3) on behalf of herself and the Class as defined as follows:
 7         All persons in the United States who (1) from the date four years prior
 8         to the filing of this Complaint through the date notice is sent to the
 9         Class; (2) received at least one call from Defendant, or a third person
10         acting on behalf of Defendant; (3) on the person’s cellular telephone;
11         (4) for the purpose of selling Defendant’s security products and
12         services; (5) using the same equipment that was used to call the
13         Plaintiff; and (6) form whom Defendant claims it obtained prior
14         express written consent in the same manner as Defendant claims it
15         obtained prior express consent to call Plaintiff.
16         29.    The following people are excluded from the Class: (1) any Judge or
17   Magistrate presiding over this action and members of their families; (2) Defendant,
18   Defendant’s subsidiaries, parents, successors, predecessors, and any entity in which
19   the Defendant or its parents have a controlling interest and its current or former
20   employees, officers and directors; (3) persons who properly execute and file a timely
21   request for exclusion from the Class; (4) persons whose claims in this matter have
22   been finally adjudicated on the merits or otherwise released; (5) Plaintiff’s counsel
23   and Defendant’s counsel; and (6) the legal representatives, successors, and assignees
24   of any such excluded persons. Plaintiff anticipates the need to amend the class
25   definition following appropriate discovery.
26         30.    Numerosity: The exact number of members within the Class is
27   unknown and not available to Plaintiff at this time, but it is clear that individual
28   joinder is impracticable. On information and belief, Defendant has placed autodialed
     CLASS ACTION COMPLAINT                 -6-
Case 2:19-cv-10071-VAP-RAO Document 1 Filed 11/25/19 Page 7 of 11 Page ID #:7




 1   calls to thousands of consumers who fall into the defined Class. The exact number of
 2   members of the Class can only be identified through Defendant’s records.
 3         31.    Typicality: Plaintiff’s claims are typical of the claims of other members
 4   of the Class in that Plaintiff and the members of the Class sustained damages arising
 5   out of Defendant’s uniform wrongful conduct.
 6         32.    Adequate Representation: Plaintiff will fairly and adequately
 7   represent and protect the interests of the Class and has retained counsel competent
 8   and experienced in complex class actions. Plaintiff and her counsel have no interests
 9   antagonistic to those of the Class and Defendant has no defenses unique to Plaintiff.
10         33.    Commonality and Predominance: There are several questions of law
11   and fact common to the claims of Plaintiff and the Class, and those questions
12   predominate over any questions that may affect individual members of the Class,
13   driving to the very heart of the litigation. Common questions for the Class include,
14   but are not necessarily limited to, the following:
15                (a)    Whether Defendant’s conduct violated the TCPA;
16                (b)    Whether members of the Class are entitled to treble damages
17                based on the willfulness of Defendant’s conduct;
18                (c)    Whether Defendant used an automatic telephone dialing system
19                to make calls to consumers;
20                (d)    Whether Defendant obtained prior express written consent to
21                make the calls; and
22                (e)    Other common questions of law and fact.
23         34.    Conduct Similar Towards All Class Members: By committing the
24   acts set forth in this pleading, Defendant has acted or refused to act on grounds
25   substantially similar towards all members of the Class so as to render final injunctive
26   relief and corresponding declaratory relief appropriate so as to warrant certification
27   under Rule 23(b)(2).
28
     CLASS ACTION COMPLAINT                -7-
Case 2:19-cv-10071-VAP-RAO Document 1 Filed 11/25/19 Page 8 of 11 Page ID #:8




 1         35.    Superiority & Manageability: This case is also appropriate for class
 2   certification under Rule 23(b)(3) because class proceedings are superior to all other
 3   available methods for the fair and efficient adjudication of this controversy. Joinder
 4   of all parties is impracticable, and the damages suffered by the individual members
 5   of the Class will likely be relatively small, especially given the burden and expense
 6   of individual prosecution of the complex litigation necessitated by Defendant’s
 7   actions. Thus, it would be virtually impossible for the individual members of the
 8   Class to obtain effective relief from Defendant’s misconduct. Even if members of the
 9   Class could sustain such individual litigation, it would still not be preferable to a
10   class action, because individual litigation would increase the delay and expense to all
11   parties due to the complex legal and factual controversies presented in this
12   Complaint and would run the risk of inconsistent rulings. By contrast, a class action
13   presents far fewer management difficulties and provides the benefits of single
14   adjudication, economy of scale, and comprehensive supervision by a single Court.
15   Economies of time, effort and expense will be fostered and uniformity of decisions
16   ensured. Also, there are no pending governmental actions against Defendant for the
17   same conduct.
18                                    CAUSE OF ACTION
19     Violation of the Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq.
20                       (On Behalf of Plaintiff and the No Consent Class)
21         36.    Plaintiff incorporates by reference the foregoing allegations as if fully
22   set forth herein.
23         37.    Defendant made unsolicited and unwanted autodialed telemarketing
24   calls to cellular telephone numbers belonging to Plaintiff and the other members of
25   the Class without their prior express written consent in an effort to generate business
26   for Defendant’s home security products and services.
27
28
     CLASS ACTION COMPLAINT                 -8-
Case 2:19-cv-10071-VAP-RAO Document 1 Filed 11/25/19 Page 9 of 11 Page ID #:9




 1         38.    Defendant failed to obtain any prior express consent that included, as
 2   required by 47 C.F.R. § 64.1200(f)(8)(i), a “clear and conspicuous” disclosure
 3   informing the person signing that:
 4         (A) By executing the agreement, such person authorizes the seller to
 5         deliver or cause to be delivered to the signatory telemarketing calls
 6         using an automatic telephone dialing system or an artificial or
 7         prerecorded voice; and
 8         (B) The person is not required to sign the agreement (directly or
 9         indirectly), or agree to enter into such an agreement as a condition of
10         purchasing any property, goods, or services.
11         39.    Defendant’s purported consent is fraudulent and fails to show Plaintiff’s
12   actual IP address.
13         40.    Further, Defendant sent the autodialed calls using equipment that had
14   the capacity to store or produce telephone numbers to be called using a random or
15   sequential number generator, and/or to receive and store lists of phone numbers, and
16   to dial such numbers, en masse, simultaneously and without human intervention.
17         41.    By making unsolicited autodialed calls to Plaintiff and members of the
18   Class’s cellular telephones without prior express written consent, and by utilizing an
19   ATDS, Defendant violated 47 U.S.C. § 227(b)(1)(A)(iii).
20         42.    As a result of Defendant’s unlawful conduct, Plaintiff and the members
21   of the No Consent Class suffered actual damages in the form of monies paid to
22   receive the unsolicited autodialed calls on their cellular telephones and, under
23   Section 227(b)(3)(B), are each entitled to, inter alia, a minimum of $500 in damages
24   for each such violation of the TCPA.
25         43.    Should the Court determine that Defendant’s conduct was willful and
26   knowing, the Court may, pursuant to Section 227(b)(3), treble the amount of
27   statutory damages recoverable by Plaintiff and the other members of the Class.
28
     CLASS ACTION COMPLAINT                 -9-
Case 2:19-cv-10071-VAP-RAO Document 1 Filed 11/25/19 Page 10 of 11 Page ID #:10




 1                                  PRAYER FOR RELIEF
 2         WHEREFORE, Plaintiff Tracy Eggleston, on behalf of herself and the class,
 3   prays for the following relief:
 4                 A.    An order certifying the Class as defined above, appointing
 5         Plaintiff Eggleston as the representative of the Class, and appointing her
 6         counsel as Class Counsel;
 7                 B.    An award of statutory damages of five hundred dollars ($500.00)
 8         for each violation to be paid into a common fund for the benefit of the Plaintiff
 9         and the Class Members;
10                 C.    An order declaring that Defendant’s actions, as set out above,
11         violate the TCPA;
12                 D.    An injunction requiring Defendant to cease all unsolicited text
13         messaging activities, and otherwise protecting the interests of the Class;
14                 E.    An award of reasonable attorneys’ fees and costs to be paid out of
15         the common fund prayed for above;
16                 F.    An award of treble damages if willfulness is shown;
17                 G.    Pre- and Post-judgment interest; and
18                 H.    Such other and further relief that the Court deems reasonable and
19         just.
20                                      JURY DEMAND
21         Plaintiff requests a trial by jury of all claims that can be so tried.
22
23                                             Respectfully submitted,
24
25   Dated: November 25, 2019                  Tracy Eggleston, individually and on behalf
                                               of all others similarly situated,
26
27                                     By:       s/
                                               One of Plaintiff’s Attorneys
28
     CLASS ACTION COMPLAINT                  - 10 -
Case 2:19-cv-10071-VAP-RAO Document 1 Filed 11/25/19 Page 11 of 11 Page ID #:11



                                        THE AFTERGOOD LAW FIRM
 1                                      Aaron D. Aftergood (239853)
                                        aaron@aftergoodesq.com
 2                                      1880 Century Park East, Suite 200
                                        Los Angeles, CA 90067
 3                                      Telephone: (310) 551-5221
                                        Facsimile: (310) 496-2840
 4
 5                                      Patrick H. Peluso*
                                        ppeluso@woodrowpeluso.com
 6                                      Taylor T. Smith*
                                        tsmith@woodrowpeluso.com
 7                                      Woodrow & Peluso, LLC
                                        3900 East Mexico Avenue, Suite 300
 8                                      Denver, Colorado 80210
                                        Telephone: (720) 213-0675
 9                                      Facsimile: (303) 927-0809
10                                      *Pro Hac Vice admission to be sought
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
     CLASS ACTION COMPLAINT           - 11 -
